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 6                       IN THE UNITED STATES DISTRICT COURT

 7                             FOR THE DISTRICT OF ARIZONA

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 9    IN RE: Bard IVC Filters Products                No. MDL 15-02641-PHX-DGC
      Liability Litigation,
10                                                    CASE MANAGEMENT ORDER NO. 43
11
                                                      (Tinlin Trial, Common Benefit Fund Fee
12                                                    and Expense Accounts, Closing Date for
                                                      New Cases and Remand or Transfer, and
13
                                                      SNF Cases)
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15          The Tinlin bellwether trial will begin on May 13, 2019. Doc. 12971 at 3-4. The
16   Court held a final pretrial conference with the parties on April 29, 2019. Doc. 17453. The
17   conference concerned issues raised in the parties’ trial briefs and proposed final pretrial
18   order, and other matters. On the basis of the conference, the Court enters the following
19   orders:
20          1.     Tinlin Trial.
21                 a.      By May 8, 2019, the parties shall file a joint witness list to give to the
22   prospective jurors on the first day of trial.
23                 b.      Plaintiffs shall file a memorandum regarding the ruling on MIL 1
24   (Docs. 16576, 17285) by the close of business on May 1, 2019. Defendants shall file a
25   response by the close of business on May 3, 2019. The memoranda are limited to three
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     pages each. No reply shall be filed.
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                   c.      By May 6, 2019, the parties shall jointly file proposed jury
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     instructions for the fraudulent concealment claim and revised proposed verdict forms.
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 1                     d.    By close of business on May 3, 2019, Defendants shall file a response,
 2   limited to three pages, to Plaintiffs’ argument that Wisconsin law does not allow a
 3   manufacturer to allocate fault to third parties on strict product liability claims. Doc. 17357
 4   at 2.
 5                     e.    Plaintiffs shall notify the Court by the close of business on May 1,
 6   2019, as to when the Tinlins will be testifying. Plaintiffs are directed to make advanced
 7   arrangements with the courtroom deputy should the Tinlins wish to listen to any portion of
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     the trial by telephone.
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                       f.    By May 3, 2019, the parties shall jointly file a revised proposed
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     preliminary instruction regarding video appearance that includes Mr. Tinlin.                See
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     Doc. 17436 at 8.
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              2.       Motion for Common Benefit Fund Fee and Expense Accounts.
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                       a.    By May 10, 2019, the parties shall file a joint proposed order for the
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     establishment of common benefit fee and expense accounts and appointment of an escrow
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     agent.        See Docs. 372 at 9, 16932 at 2-3. The Court will decide whether to increase
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     common benefit fee and cost assessments when the issue is fully briefed and the Court’s
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     schedule permits. See Doc. 372 at 10.
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19                     b.    Plaintiffs’ request for a one-week extension to file a reply brief is

20   granted.

21            3.       Closing Date for New Cases and Remand or Transfer of Cases.

22                     a.    The closing date for new cases to be transferred to or directly filed in
23   this MDL is May 31, 2019. See Doc. 16343 at 7.
24                     b.    The parties’ joint memorandum identifying all cases in this MDL that
25   fall within the two settlement tracks, due July 1, 2019 (id. at 6, ¶ 4(a)), shall (1) identify
26   each case not included in Track 1 or Track 2, and (2) state for each such case whether it
27   was transferred by the JPML or directly filed in this MDL, and identify the district from
28   which it was transferred by the JPML or the district to which it should be transferred if it


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 1   was directly filed in the MDL (see id. ¶ 4(c)).
 2          4.     Simon Nitinol Filter (“SNF”) Cases.
 3          In Case Management Order 42, the Court gave attorneys in SNF cases until May 1,
 4   2019 to, among other things, organize into a Plaintiffs’ steering committee and designate
 5   lead counsel for SNF cases. Id. at 4. At the April 29 conference, attorney Nicole
 6   Maldonado appeared on behalf of attorneys with SNF cases. Based on the discussions with
 7   Ms. Maldonado and counsel for Defendants, the Court will not dismiss the SNF cases at
 8   this time.   Ms. Maldonado shall file a report by July 1, 2019 regarding the nature and
 9   status of the remaining SNF cases. The Court will then address how to proceed with the
10   SNF cases.
11          Dated this 2nd day of May, 2019.
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